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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

J.B.B.C., a MINOR CHILD, by and through his
father and next friend, Carlos Emilio Barrera
Rodriguez,

Plaintiff, Case No. 1:20-cv-01509 (CIN)
vs.

CHAD WOLF, Acting Secretary of Department
of Homeland Security, et al.,

Defendants.

 

 

DECLARATION OF ROBERT DANLEY
I, Robert Danley, pursuant to 28 U.S.C. § 1746, and based upon my personal
knowledge and documents and information made known or available to me from official
records and reasonably relied upon in the course of my employment, hereby declare as
follows, relating to the above-captioned matter:

1. Iam an Associate Chief with the United States Border Patrol (USBP) currently serving
in the capacity as acting Deputy Directorate Chief of the Law Enforcement Operations
Directorate - Operational Programs Division with oversight of all national level USBP
operational programs, to include those in the Foreign Operations, Liaison, Special
Operations and Specialty Programs Divisions. I have been in this role since November 1,
2019. As Associate Chief, I am the first-line supervisor of the Specialty Programs

Division and have been serving in this role since June 9, 2019. I am responsible for
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reviewing, coordinating, overseeing, approving and providing recommendations for
projects and programs concerning detention, administrative processing, and related
activities for USBP at the national level. In my capacity as Associate Chief, I am familiar
with, and have oversight of, certain aspects of the processing of aliens apprehended by USBP
agents who are subject to the Centers for Disease Control and Prevention (CDC) Order
Suspending Introduction Of Persons From A Country Where A Communicable Disease
Exists (March 20, 2020), 85 Fed. Reg. 17060 (Mar. 26, 2020) (CDC Order).

2. USBP agents have been properly designated as “customs officers” pursuant to Title 19 U.S.
Code Section 1401(i). USBP agents can therefore exercise the authority of “customs
officers,” as identified in the CDC Order and under 42 U.S.C. § 268(b), to assist with the

enforcement of the CDC Order.

Processing of J.B.B.C.

3. On June 4, 2020, U.S. Customs and Border Protection (CBP) USBP agents encountered
J.B.B.C. approximately one mile from the United States/Mexico border near E] Paso, Texas
after he illegally entered the United States between the Ports of Entry (POEs) without
inspection or admission. J.B.B.C., a 16 year-old single minor, is not a United States citizen
and admitted to being a Honduran national. J.B.B.C. had not been admitted or paroled into
the United States and was not in possession of proper travel documents to allow lawful entry
into the United States.

4. USBP determined that J.B.B.C. was subject to the CDC Order, as he was apprehended near
the border after unlawfully entering the United States from Mexico between the POEs, and

would have otherwise been held in congregate settings in a Border Patrol station to facilitate

 

 
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immigration processing. J.B.B.C. did not claim any fear of persecution, or torture, or an
intent to apply for asylum, while in CBP custody. On June 5, 2020, J.B.B.C. was transferred
from CBP to U.S. Immigration and Customs Enforcement custody to be returned to his

country of origin, Honduras.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge, information, and belief.

Executed this 17th day of June, 2020.

    
  

Robert Danley
Acting Deputy Directorate Chief — Law
Enforcement Operations Directorate
